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                       `IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 ETTO IP, LLC,

                Plaintiff,
                                                   Case No. 6:23-cv-00003-DAE
                v.

 REEBOK INTERNATIONAL LTD.,

                Defendant.


                              CLAIM CONSTRUCTION ORDER

       Before the Court are the parties’ Markman briefs: Defendant’s Opening and Reply Claim

Construction Briefs (ECF No. 26 and 29, respectively), Plaintiff’s Responsive Brief (ECF No.

271), and the Parties’ Joint Claim Construction Statement (ECF No. 31). The matter was referred

to the undersigned for a Markman hearing. See Text Order dated January 21, 2025. The

undersigned held a Markman hearing on March 20, 2025. The Court issues this Order to

memorialize the Court’s final claim construction rulings for the parties, and to inform the parties

that the Court will issue a more-detailed Order explaining its analysis in due course. The

deadline to file any objections to the undersigned’s claim construction rulings (pursuant to

Federal Rules of Civil Procedure 59 and 72) does not begin to run until the more-detailed Order

is entered on the docket.




       1
         Plaintiff filed two Responsive Brief the same day, at ECF Nos. 27 and 28. ECF No. 28
appears to have corrected formatting issues and the Court uses that as the operative Responsive
Brief.


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IT IS SO ORDERED.

SIGNED this 20th day of March, 2025.

                                           __________________________________________
                                           DEREK T. GILLILAND
                                           UNITED STATES MAGISTRATE JUDGE




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                           COURT’S FINAL CONSTRUCTIONS
Claim Term                  Plaintiff’s Proposed       Defendant’s Proposed             Court’s
                                Construction                Construction             Construction
“three dimensional       1. Plain and ordinary        Frame having length,       Plain and ordinary
mold” (claim 1)          meaning                      width, and depth on or     meaning
                         2. an object useable to      around which an object
                         give shape or form to a      is constructed, and from
                         fluidic material as the      which the object is
                         fluidic material becomes a removed after
                         solid                        construction
“separating the three    1. Plain and ordinary        Removing the designed      Plain and ordinary
dimensional mold         meaning                      product from the three-    meaning, wherein the
from the finished        2. removing the finished     dimensional mold such      product and mold are
designed product”        design product from at       that the product and       no longer in any
(claim 1)                least a portion of the three mold are no longer in      contact
                         dimensional mold             any contact with each
                                                      other
“support unit being      1. Plain and ordinary        Support unit is            support unit being
adjustable in any of a   meaning                      moveable in all three      moveable in x, y, and
plurality of possible    2. support unit is movable spatial dimensions (x, y,    z directions.
directions” (claim 1)    in x, y, and z directions    and z)

“present each face of    1. Plain and ordinary          Present each and every   Plain and ordinary
the three dimensional    meaning                        face of the three        meaning, wherein
mold . . . to an         2. locate the surface of the   dimensional mold to an   each face means each
extruder” (claim 1)      three dimensional mold so      extruder                 and every face
                         as to receive the fluid
                         material extruded by the
                         extruder




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